                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                       Civil No. 19-2914 (DSD/BRT)

Camille A. Abboud,

                 Plaintiff,

v.
                                                       ORDER
Xcel Energy, Inc., et al.,

                 Defendants.




     This matter is before the court sua sponte.             On November 1,

2019,   plaintiff   Camille    A.   Abboud    filed    an   action   in    this

district   alleging    workplace    discrimination     by   defendant      Xcel

Energy, Inc., and certain of its employees and officers.                   See

Abboud v. Xcel Energy, Inc., No. 19-2826 (PJS/TNL) (D. Minn.).

Abboud’s   application    to   proceed   in    forma   pauperis      has   been

granted in that matter and he has been permitted to proceed with

his claims.

     The complaint in this matter — also received on November 1,

2019 — is identical to the complaint submitted by Abboud in his

earlier lawsuit.      Indeed, there is little reason to think that

Abboud actually intended to file two separate lawsuits.                Abboud

did not initially submit a civil cover sheet when he filed his

“first” lawsuit.      See ECF No. 1-2.       But the action was initiated

anyway, and — as stated above — Abboud has already been permitted

to proceed in that case.       When the cover sheet was received from
Abboud, this “second” lawsuit, identical to the first, was opened.

     There is no benefit to Abboud or anyone else in proceeding

with duplicative litigation.   As a result, this action will be

administratively terminated without prejudice to Abboud’s right

to proceed with his claims for relief in the earlier lawsuit.

     Accordingly, based on the foregoing, and on all of the

files, records, and proceedings herein, IT IS HEREBY ORDERED that

this matter is dismissed without prejudice.

LET JUDGMENT BE ENTERED ACCORDINGLY.




Dated: November 26, 2019            /s David S. Doty
                                    David S. Doty, Judge
                                    United States District Court




                                2
